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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION



 NATIONAL ASSOCIATION FOR GUN
 RIGHTS, INC., et al.,

                    Plaintiffs,
                                                      Case No. 4:23-cv-00830-O
          v.

 PAMELA BONDI, IN HER OFFICIAL
 CAPACITY AS ATTORNEY GENERAL
 OF THE UNITED STATES, et al.,

                    Defendants.


               RESPONSE TO PLAINTIFFS’ NOTICE OF NONCOMPLIANCE

       Defendants respectfully submit this Response to Plaintiffs’ Notice of Noncompliance, ECF

No. 127 (“Pls.’ Notice”), to address Plaintiffs’ assertions that Defendants have violated this

Court’s July 24, 2024 Final Judgment, ECF No. 101, as modified by this Court’s August 20, 2024

Order, ECF No. 112. As detailed below, none of Plaintiffs’ assertions has merit.

       First, Plaintiffs assert that Defendants did not complete the return of all seized FRT-15s

and WOTs by February 22, 2025. See Pls.’ Notice at 1-3. But Defendants have developed and

implemented a process for returning FRT-15s and WOTs as quickly as practicable. Defendants

have been transparent with the Court and Plaintiffs regarding serious administrability difficulties,

including difficulties in determining which owners are members of the Plaintiff organizations and

entitled to the return of their devices and resource constraints. See Defs.’ Notice of Compliance

(“Defs.’ Notice”) at 2-3, ECF No. 126. Indeed, Defendants repeatedly provided notice of these

logistical difficulties to the Court, explaining that “ATF continues to face the same administrability


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concerns outlined in its Stay Motion . . . as to the February 22 deadline for returns to unidentified

members.” See Defs.’ Notice at 3; see also Defs.’ Mem. in Supp. of Mot. for Stay Pending Appeal

at 3, ECF No. 105. And as Defendants have also explained, Plaintiffs could have accelerated that

process by conveying to Defendants information about the members that they claim to represent

who seek return of a device pursuant to the injunction. See Defs.’ Reply in Supp. of Mot. for Stay

Pending Appeal at 3-4, ECF No. 109. Having refused to do so, Plaintiffs’ stated concerns about

the time Defendants need to return devices under the only approach available ring hollow. 1

       Second, Plaintiffs “disagree with the need, and possibly even the legality of running

background checks” prior to the return of seized FRT-15s and WOTs to eligible individuals. Pls.’

Notice at 3 n.1. But this Court unequivocally excluded individuals prohibited from possessing

firearms from the scope of its injunction. Order at 60, ECF No. 100 (“[T]his injunctive relief shall

not extend to any individual prohibited from possessing firearms under 18 U.S.C. § 922(g).”).

Accordingly, background checks prior to the return of seized FRT-15s and WOTs are necessary

to ensure that Defendants do not return the devices to individuals prohibited from possessing

firearms, as this Court’s Order contemplated. 2

       Third, Plaintiffs take issue with Defendants’ refusal to return FRT-15s and WOTs in states

where those devices are illegal under state law. Pls.’ Notice at 3-4. But this Court’s orders do not


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  Plaintiffs also suggest that ATF violated the Court’s Order by denying a return “on the ground
that the seized FRT had already been destroyed.” Pls.’ Notice at 2. As Defendants previously
advised this Court, however, that device was forfeited to the United States long before this
litigation commenced. See Defs.’ Opp to Motion for Order to Show Cause at 11, ECF No. 118.
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  Plaintiffs also ask that “Defendants . . . explain the process and authorization for running
background checks on people for possessing nonregulated triggers.” Pls.’ Notice at 3 n.1.
Defendants did precisely that in the declaration accompanying their notice of compliance. See
Second Varisco Decl. ¶ 18, ECF No. 126-1 (“Because this Court’s orders do not require ATF to
return FRT-15s and WOTs to persons prohibited from possessing firearms under 18 U.S.C.
§ 922(g), a background check will be run on those who provide appropriate proof of membership
to determine whether they are entitled to a return of their FRT-15s or WOTs.”).
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require ATF to aid and abet violations of state law, and Plaintiffs do not attempt to argue otherwise.

Instead, Plaintiffs speculate that Defendants should not “be trusted with interpreting state law,”

Pls.’ Notice at 4, suggesting that Defendants will incorrectly construe state law as prohibiting

possession of FRT-15s and WOTs to retain seized devices. But Plaintiffs offer no basis to believe

that Defendants are misinterpreting state law in this manner, and they are not. Indeed, sixteen

states recently filed an amicus brief in the appeal from this action claiming that FRT-15s and

WOTs violate certain of those states’ laws and that the states will incur costs to enforce those laws

against owners of those devices. See Amici Curiae Brief of the States, Nat’l Assoc. for Gun Rights,

Inc. v. Bondi, No. 24-10707, ECF No. 110 at 11-14 (5th Cir. Jan. 30, 2025); see also Decl. of Eric

Barlow ¶ 12, Nat’l Assoc. for Gun Rights, Inc. v. Bondi, No. 24-10707, ECF No. 84 (5th Cir. Jan.

16, 2025) (“The New Jersey Attorney General’s Office interprets [N.J. Stat. Ann. § 2C:39-1(i)] as

covering firearms equipped with an FRT.”). That possession of FRT-15s and WOTs violates

certain states’ laws is therefore not ATF’s own legal analysis—it is a conclusion supported by a

sworn declaration from state law enforcement officials in this very litigation.

       Fourth, Plaintiffs claim that Defendants “continue to rely on the illegal classification of

FRTs as machineguns,” pointing to two criminal prosecutions in the United States District Court

for the District of Puerto Rico. Pls.’ Notice at 4-5. But as Defendants have explained repeatedly,

prosecutions and other enforcement actions are not undertaken on the basis of any “illegal

classification” because ATF’s classification does not carry binding legal effect apart from the

statute. See Defs.’ Opp. to Mot. for Order to Show Cause at 18, ECF No. 118; Defs.’ Mem. in

Supp. of Mot. for Stay at 5, ECF No. 105. And one of those prosecutions does not even implicate

the FRTs at issue in this case. See Pls.’ Notice at 4 (noting that “United States argued that the

FRTs at issue in that case (Alamo-15 FRTs) might be different from the FRT-15 or WOT”).



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       Moreover, this Court recognized that Defendants could continue to prosecute violations of

the National Firearms Act by limiting its injunction prohibiting criminal prosecutions to “the

Individual Plaintiffs and their families, the Organizational Plaintiffs and their members, and the

downstream customers of any commercial member of an Organizational Plaintiff to the extent that

it does not interfere with other courts.” Final Judgment at 2. This specification would make no

sense if Defendants were enjoined from any criminal prosecutions against all individuals

throughout the United States, and Plaintiffs do not argue that either of the two prosecutions

identified in their notice involved individuals covered by this Court’s permanent injunction.

       The Fifth Circuit’s decision in Franciscan Alliance, Inc. v. Becerra, 47 F.4th 368 (5th Cir.

2022), does not alter this analysis. That case acknowledged that “a challenge to an agency

regulation is necessarily a challenge to the underlying statute as well.” Id. at 378. But Plaintiffs

here did not challenge an agency regulation—they instead challenged application of a statute to a

particular type of device. See Compl. ¶ 1, ECF No. 1 (explaining action seeks “declaratory and

injunctive relief to end Defendants’ arbitrary, capricious, and otherwise unlawful efforts to

misclassify Forced Reset Triggers as ‘machineguns’ under the National Firearms Act of 1934”).

Accordingly, this Court’s conclusion that FRT-15s and WOTs are not machineguns does not

preclude application of the criminal statute prohibiting possession of machineguns to individuals

who possess different devices and, in any event, fall outside the scope of this Court’s injunction.

       Fifth, Plaintiffs argue that Defendants must return all seized forced-reset triggers, not

merely seized FRT-15s and WOTs. Pls.’ Notice at 6. But this Court’s ruling considered only

FRT-15s and WOTs, see, e.g., Order at 5, ECF No. 100 (“Both the WOT and the FRT-15 operate

on the same mechanical principles”), as those devices were the focus of Plaintiffs’ complaint, see

id. at 22 n.74 (“The Complaint is also full of references to the FRT-15 manufactured and sold by



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Rare Breed Triggers.”). And as this Court emphasized, the statutory “definition [of a machinegun]

is solely concerned with the mechanical operation of the trigger.” Order at 38. Accordingly,

because different types of forced-reset triggers may mechanically operate in a different way, and

because there are no standards for the designation of a device as a forced reset trigger, this Court

only had occasion to consider the mechanics and rule on the legality of FRT-15s and WOTs.

       Moreover, after this Court issued a preliminary injunction on October 7, 2023, ECF No.

53, Defendants repeatedly made clear that they understood this Court’s orders as concerning only

those two devices. See, e.g., Notice of Compliance at 2, ECF No 57 (“The ATF Destruction

Branch was also instructed not to destroy any FRT-15 and WOT devices in their possession.”); id.

(explaining ATF notified “its Office of Field Operations that any FRT-15 and Wide Open Trigger

(‘WOT’) related recall efforts targeting individuals or entities named as Plaintiffs or known to be

members of the Associational Plaintiffs should be stopped . . .”); Response to Plaintiffs’ Notice of

Non-Compliance at ¶ 5, ECF No. 99-1 (“On October 7, 2023, the Court preliminarily enjoined

ATF from undertaking certain enumerated criminal enforcement and regulatory actions related to

the FRT-15 and Wide Open Triggers (“WOT”) forced reset triggers”); id. ¶ 9 (“field counsel is

instructed to advise that any enforcement activities related to FRT-15s and/or WOTs against that

individual or entity must be stopped if the person is not prohibited from possessing firearms”).

       Defendants reiterated that understanding shortly after the Court issued Final Judgment.

See, e.g., Defs.’ Mem. in Supp. of Mot. for Stay Pending Appeal at 4 n.3, ECF No. 105 (“The

record here contains 7 separate ATF investigation reports or other documents concluding that the

FRT-15 or WOT—the two devices Plaintiffs have specifically placed at issue—are

machineguns.”); see also Defs.’ Opp. to Mot. for Order to Show Cause at 14, ECF No. 118

(describing “reasonable efforts [undertaken by ATF] to comply with their obligations to return



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FRT-15s and WOTs to identified members under the Court’s orders”); id. at 18 (discussing “this

Court’s vacatur of ATF’s classification of FRT-15s and WOTs as machineguns”). At no point

over the course of these filings—which date back to 2023—did Plaintiffs ever raise concerns with

Defendants or the Court regarding ATF’s understanding of the scope of Plaintiffs’ claims and the

Court’s orders. Nor did they ever amend their complaint to challenge classifications of FRTs other

than the FRT-15 and WOT. Plaintiffs may not now expand the scope of this Court’s orders via a

notice after final judgment has been entered.

       Finally, Plaintiffs speculate that Defendants are violating the injunction based on a

Government filing in a state court civil proceeding brought by an individual that Plaintiffs claim

“was involved in Rare Breed Triggers, LLC’s formation and operation” where the Government

was not a party. Pls.’ Notice at 6-7 & n.3. Plaintiffs are incorrect. In that case, the United States

opposed a motion to compel production of communications between defendants, alleged

confidential informants and an ATF Special Agent, arguing that the records sought were protected

under the law enforcement privilege. See United States’ Opposition to Motion to Compel

Responses and Overrule Objections to Defendant, Jose David Lopez, Propounded on 7/23/2024,

Leleux v. Lopez, No. 22-CA-533 (Fl. 18th Jud. Circ. Feb. 7, 2025) (“United States’ Lopez Opp.”);

United States’ Opposition to Motion to Compel Responses and Overrule Objections to Defendant,

Gabriela de Amorin Zipperer Habowsky, Propounded on 7/23/2024, Leleux v. Lopez, No. 22-CA-

533 (Fl. 18th Jud. Circ. Feb. 7, 2025) (“United States’ Habowsky Opp.”). Plaintiffs here claim

that the United States’ assertion of the law enforcement privilege establishes that there remains an

ongoing federal criminal investigation of the Rare Breed Parties in violation of this Court’s

injunction enjoining “Defendants from pursuing criminal proceedings or criminal enforcement




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actions against” the Rare Breed Parties “on the grounds that FRTs are ‘machineguns.’” Final

Judgment at 2.3

       The United States, however, did not assert that there exists any federal criminal

investigation ongoing after Final Judgment into the Rare Breed Parties predicated upon an

assertion that FRTs are machineguns. Rather, it recognized that at the time the communications

occurred—which long predates this litigation—“they were made during the course of a federal

criminal investigation.” United States’ Habowsky Opp. at 1. The basis for ATF’s assertion of law

enforcement privilege, however, was pending civil enforcement proceedings, namely an in rem

civil asset forfeiture action in the District of Utah, United States of America v. Miscellaneous

Firearms and Related Parts and Equipment, 1:23-cv-00017 (D. Utah), and the ongoing civil fraud

action in the Eastern District of New York, United States v. Rare Breed Triggers, LLC, et. al.,

1:23-cv-00369 (E.D.N.Y.). See United States’ Lopez Opp. at 5 (“Litigation pertaining to the Rare

Breed Parties is ongoing in EDNY and the District of Utah, and ATF’s investigation remains

open.”); United States’ Habowsky Opp. at 5 (same). As Defendants previously explained, these

proceedings are carved out from the Court’s injunction, which is limited “to the extent that it does

not interfere with other courts, such as the Eastern District of New York’s civil jurisdiction over

the Rare Breed Parties.” Final Judgment at 2; see also Defs.’ Opp to Motion for Order to Show

Cause at 3, 17-18, ECF No. 118.

       Nor does the assertion of the law enforcement privilege require prospective criminal

proceedings. It is well established that the law enforcement privilege may be invoked to protect

civil proceedings. See, e.g., Fed. Election Comm’n v. Rivera, 335 F.R.D. 541, 547 (S.D. Fla. 2020)




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 The Rare Breed Parties covered by this Court’s orders are Rare Breed Triggers, LLC; Rare Breed
Firearms, LLC; Lawrence DeMonico; and Kevin Maxwell. See Final Judgment at 2.
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(explaining law enforcement privilege “has periodically been invoked in civil litigation when

parties have sought internal FEC enforcement materials”); United States v. Lang, 766 F. Supp.

389, 403 (D. Md. 1991) (recognizing law enforcement privilege where “SEC has an on-going

investigation of this matter from which a civil enforcement action may result”).

       Accordingly, nothing in the United States’ submissions indicates the existence of any

ongoing federal criminal proceedings in violation of the Court’s injunction, and Defendants actions

are therefore consistent with this Court’s Final Judgment.



DATED: March 11, 2025                         Respectfully submitted,

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                                       Certificate of Service

       On March 11, 2025, I electronically submitted the foregoing document with the clerk of

court for the U.S. District Court, Northern District of Texas, using the electronic case filing system

of the court. I hereby certify that I have served all parties electronically or by another manner

authorized by Federal Rule of Civil Procedure 5(b)(2).

                                                       /s/ Alexander W. Resar




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